MELANIECase   5:15-cr-00093-JGB Document 147 Filed 10/12/18 Page 1 of 1 Page ID #:1038
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ZLWK*HQHUDO2UGHUDQG/RFDO5XOHWKHIROORZLQJGRFXPHQWVRULWHPVZLOOEHPDQXDOO\
     ILOHG/LVW'RFXPHQWV
    JOINT STATUS REPORT [UNDER SEAL PURSUANT TO THE COURT'S JULY 13, 2018
ORDER] AND [PROPOSED] ORDER [UNDER SEAL]

          'RFXPHQW'HVFULSWLRQ
          G      $GPLQLVWUDWLYH5HFRUG
          G      ([KLELWV
          G      ([3DUWH$SSOLFDWLRQIRUDXWKRUL]DWLRQRILQYHVWLJDWLYHH[SHUWRURWKHUVHUYLFHVSXUVXDQWWRWKH
                 &ULPLQDO-XVWLFH$FW>VHH/RFDO&LYLO5XOH'RFXPHQWVWREHH[FOXGHGK@
          ✔
          G      2WKHU - see list above


          5HDVRQ
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          G      8QGHU6HDO
          G      ,WHPVQRWFRQGXFLYHWRHILOLQJLHYLGHRWDSHV&'520ODUJHJUDSKLFFKDUWV
          G      (OHFWURQLFYHUVLRQVDUHQRWDYDLODEOHWRILOHU
          G      3HU&RXUWRUGHUGDWHG
          G      0DQXDO)LOLQJUHTXLUHGreason


October 12, 2018                                                   Melanie Sartoris
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                                                                   United States of America
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1RWH )LOHRQH1RWLFHLQHDFKFDVHHDFKWLPH\RXPDQXDOO\ILOHGRFXPHQWV
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